Case 8:22-cv-02004-SDM-AAS Document 19 Filed 01/13/23 Page 1 of 3 PageID 60




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

                            CASE NO.: 8:22-cv-02004

   LORRAINE S. HOFFMAN,

            Plaintiff,

   v.

   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC,

           Defendant.
   _____________________________________/


                     JOINT NOTICE OF SETTLEMENT

        Plaintiff, Lorraine S. Hoffman, and Defendant, Healthcare Revenue

  Recovery Group, LLC ( “the Parties”), by and through their undersigned

  counsel, hereby notify the Court that the Parties have reached a settlement

  in the above-captioned matter.

        The parties are in the process of finalizing the terms of settlement

  and respectfully request that this Court allow thirty (30) days to complete

  the settlement, during which time Parties request this Court retain

  jurisdiction over this matter until fully resolved. The Parties anticipate that
Case 8:22-cv-02004-SDM-AAS Document 19 Filed 01/13/23 Page 2 of 3 PageID 61




  a joint stipulation to voluntary dismissal with Prejudice will be filed within

  thirty (30) days.

  Dated this 13th day of January 2023.

   /s/ Alexander J. Taylor                    /s/ Ernest H. Kohlmyer, III
   Alexander J. Taylor, Esq.                  Ernest H. Kohlmyer, III, Esquire
   Florida Bar No. 1013947                    Florida Bar No. 110108
   ataylor@sulaimanlaw.com                    Skohlmyer@shepardfirm.com
   Sulaiman Law Group, Ltd                    Shepard, Smith, Kohlmyer & Hand,
   2500 S Highland Ave, Suite 200             P.A.
   Lombard, IL 60148                          2300 Maitland Center Parkway, Suite
   Telephone: (630) 575-8181                  100
   Attorneys for Plaintiff                    Maitland, Florida 32751
                                              Telephone (407) 622-1772
                                              Facsimile (407) 622-1884
                                              Attorneys for Defendant, Healthcare
                                              Revenue Recovery Group, LLC




                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically

  filed on January 13, 2023, via the Clerk of Court’s CM/ECF system. I further

  certify that the foregoing has been sent via electronic transmission to the

  following: Alexander J. Taylor, Esquire at ataylor@sulaimanlaw.com and

  Mohammed Badwan at mbadwan@sulaimanlaw.com (Attorneys for Plaintiff).




                                             /s/ Ernest H. Kohlmyer, III


                                         2
Case 8:22-cv-02004-SDM-AAS Document 19 Filed 01/13/23 Page 3 of 3 PageID 62




                                          Ernest H. Kohlmyer, III
                                          Florida Bar No.: 110108
                                          SKohlmyer@shepardfirm.com
                                          service@shepardfirm.com
                                          Shepard, Smith, Kohlmyer & Hand,
                                          P.A.
                                          2300 Maitland Center Parkway,
                                          Suite 100
                                          Maitland, Florida 32751
                                          Phone: (407) 622-1772
                                          Fax: (407) 622-1884
                                          Attorneys for Defendant Healthcare
                                          Revenue Recovery Group, LLC




                                      3
